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IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

SERVICEMEMBERS LEGAL
DEFENSE NETWORK,

Piaintiff,

v. Civii Action No, 06~200 (RMC)

DEPARTMENT OF DEFENSE, et al.,

Defendants.

 

MOTION OF NEW YORK UNIVERSITY SCHOOL OF LAW
TO FILE SUPPLEMENTAL I)ECLARATION OF ADA MELOY AS ATTACHMENT
TO ITSAMICUS CURIAE BRIEF

Pursuant to Local Rule 65.l(c), Amicus New York University School of Law (“NYU
SOL”), by and through its undersigned counsel, respectfully moves this Court for leave to file
the attached supplemental declaration for attachment to its amicus curiae brief NYU SOL
beiieves that the court Would benefit from information regarding factual developments
subsequent to the fliing of the originaf brief A copy of the proposed supplemental declaration is
attached as Exhibit l. A proposed order is attached as Exhibit 2.

Pursuant to Local Rule 7(m), counsel for NYU SOL conferred With counsel for the
parties via telephone on April 17, 2006. Counsei for Plaintiff indicated that Plaintiff do not
oppose the relief requested in the instant motion Counse§ for Defendants, Samuel Kaplan,
indicated that Defenciants do not oppose the filing, but note that NYU’s request is not the subject
of this lawsuit, and that the Departrnent of Defense sent a response to NYU’s Freedorn of

Information Act request on April l 1, 2906.

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Dated; April i'7, 2006

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Respectfully submitted,

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By: M ~)rl/ij;k;l@&@_r

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CERTIFICATE OF SERVICE

l hereby certify that on this 17th day of April, 2006, a true and correct copy of the

foregoing Motion of New York University to Schoof of Law to File Supplernentai Deciaration in

Support of its Arriictrs Curiae Brief and all exhibits thereto Was served on the following by

electronic filing through the ECF system:

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